

ORDER

PER CURIAM.
AND NOW, this 30th day of September, 1997 the petition for allowance of appeal is denied and the cross-petition for allowance of appeal is granted limited to the following issues:
I. “Did the Commonwealth Court correctly rule that the “excess interest” policies of the Pennsylvania Municipal Retirement Board are “interpretative rules” that did not have to be promulgated in accordance with the Commonwealth Documents Law?”
II. Assuming, arguendo, the Board’s “excess interest” policies are determined to be “interpretative rules,” did the Commonwealth Court err in upholding them when these rules are, unwise, violated Legislative intent, constitute an unfair and unreasonable penalty, and work an unjust forfeiture?”
